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                Exhibit E
         The Subsidization Executive Order
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                                          PRESIDENTIAL ACTIONS




                    ENDING TAXPAYER
                    SUBSIDIZATION OF
                     OPEN BORDERS
                                             EXECUTIVE ORDER


                                              February 19, 2025




         By the authority vested in me as President by the Constitution and the laws of the
        United States of America, it is hereby ordered:


          Section 1. Purpose. The plain text of Federal law, including the Personal
        Responsibility and Work Opportunity Reconciliation Act of 1996 (Public Law 104-
        193) (PRWORA), generally prohibits illegal aliens from obtaining most taxpayer-
        funded benefits. Title IV of the PRWORA states that it is national policy that “aliens
        within the Nation’s borders not depend on public resources to meet their needs,”
        and that “[i]t is a compelling government interest to remove the incentive for illegal
        immigration provided by the availability of public benefits.” But in the decades since
        the passage of the PRWORA, numerous administrations have acted to undermine
        the principles and limitations directed by the Congress through that law. Over the
        last 4 years, in particular, the prior administration repeatedly undercut the goals of
        that law, resulting in the improper expenditure of significant taxpayer resources.


          My Administration will uphold the rule of law, defend against the waste of hard-
        earned taxpayer resources, and protect benefits for American citizens in need,
        including individuals with disabilities and veterans.


          Sec. 2. Preserving Federal Public Benefits. (a) To prevent taxpayer resources
        from acting as a magnet and fueling illegal immigration to the United States, and
        to ensure, to the maximum extent permitted by law, that no taxpayer-funded
        benefits go to unqualified aliens, the head of each executive department or agency
        (agency) shall:
            (i) identify all federally funded programs administered by the agency that
        currently permit illegal aliens to obtain any cash or non-cash public benefit, and,
        consistent with applicable law, take all appropriate actions to align such programs
        with the purposes of this order and the requirements of applicable Federal law,
        including the PRWORA;
            (ii) ensure, consistent with applicable law, that Federal payments to States and
        localities do not, by design or effect, facilitate the subsidization or promotion of
        illegal immigration, or abet so-called “sanctuary” policies that seek to shield illegal
        aliens from deportation; and
            (iii) enhance eligibility verification systems, to the maximum extent possible, to
        ensure that taxpayer-funded benefits exclude any ineligible alien who entered the
        United States illegally or is otherwise unlawfully present in the United States.
          (b) Within 30 days of the date of this order, the Director of the Office of
        Management and Budget and the Administrator of the United States DOGE Service,
        in coordination with the Assistant to the President for Domestic Policy, shall further:
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             (i) identify all other sources of Federal funding for illegal aliens; and
             (ii) recommend additional agency actions to align Federal spending with the
        purposes of this order, and, where relevant, enhance eligibility verification systems.
          (c) Agencies shall refer any improper receipt or use of Federal benefits to
        the Department of Justice and the Department of Homeland Security for
        appropriate action.


          Sec. 3. General Provisions. (a) Nothing in this order shall be construed to impair
        or otherwise affect:
            (i) the authority granted by law to an executive department or agency, or the
        head thereof; or
            (ii) the functions of the Director of the Office of Management and Budget
        relating to budgetary, administrative, or legislative proposals.
          (b) This order shall be implemented consistent with applicable law and subject to
        the availability of appropriations.
          (c) This order is not intended to, and does not, create any right or benefit,
        substantive or procedural, enforceable at law or in equity by any party against the
        United States, its departments, agencies, or entities, its officers, employees, or
        agents, or any other person.




        THE WHITE HOUSE,
         February 19, 2025.




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